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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

CYNDY DOMSOHN, on behalf of                       CASE NO.:
herself and those similarly situated,

             Plaintiff,

vs.

IMPERIUM HEALTHCARE, INC., a
Florida Corporation,

             Defendant.
                                          /

      COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff, CYNDY DOMSOHN, on behalf of herself and those similarly situated,

sues the Defendant, IMPERIUM HEALTHCARE, INC., a Florida Corporation, and

alleges:

       1.    Over the last several years, Defendant has employed numerous home

health aides which Defendant misclassified as “independent contractors.” As a result

of this misclassification, these workers are not paid overtime wages for their work

performed in violation of the Fair Labor Standards Act. Each of these similarly

situated employees are paid straight time of their hourly rate for overtime hours

worked. As a result of this pay practice, these misclassified workers have not been

paid full overtime wages for their overtime hours worked in the last three years.

       2.    Plaintiff was an employee of Defendant and brings this action for unpaid

overtime compensation, liquidated damages, declaratory relief, and other relief under

the Fair Labor Standards Act, as amended, 29 U.S.C. § 216(b) (“FLSA”).



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                              GENERAL ALLEGATIONS

      3.      Plaintiff worked for Defendant as a home health aide from

approximately August 2016 to September 2020.

      4.      At all times during her employment, Plaintiff was paid by the hour.

      5.      Defendant, IMPERIUM HEALTHCARE, INC., is a Florida Corporation

which is headquartered in New Port Richey, Florida and is within the jurisdiction of

this Court.

      6.      This Court is the proper venue for this action as Defendant is

headquartered in this judicial district.

      7.      Defendant offers “adult and pediatric home health care” for clients across

Florida. See http://www.imperiumhealthcare.com/

      8.      Plaintiff and other home health aides provide those services for

Defendant to its clients.

      9.      Rather than classifying these workers as employees, Defendant classifies

Plaintiff and other home health aides as “independent contractors” and only pays

them their regular hourly rate for overtime hours worked.

      10.     This action is brought under the FLSA to recover from Defendant

overtime compensation, liquidated damages, and reasonable attorneys’ fees and costs.

This action is intended to include each and every similar situated home health aide

type worker who worked for Defendant at any time within the past three (3) years.

      11.     This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C.

§1331 and the FLSA and the authority to grant declaratory relief under the FLSA




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pursuant to 28 U.S.C. §2201 et seq.

       12.     During Plaintiff’s employment with Defendant, Defendant earned more

than $500,000.00 per year in gross sales.

       13.     During Plaintiff’s employment with Defendant, Defendant employed two

or more employees which handled goods, materials and supplies which had travelled

in interstate commerce.

       14.     Included in such goods, materials and supplies were computers,

telephones, servers, medical equipment, medicine, office equipment and furniture, as

well as numerous other goods, materials and supplies which had been carried in

interstate commerce.

       15.     Therefore, Defendant is considered an enterprise covered by the FLSA,

and as defined by 29 U.S.C. §203(r) and 203(s).

                                  FLSA VIOLATIONS

       16.     At all times relevant to this action, Defendant failed to comply with the

FLSA by misclassifying Plaintiff and other home health aides as “independent

contractors” (hereinafter the “class”) and by failing to pay overtime compensation to

Plaintiff and the class.

       17.     Each member of the putative class is classified as an “independent

contractor.”

       18.     However, the economic reality is that Plaintiff and the class are/were

economically dependent upon Defendant.

       19.     Defendant both controlled Plaintiff and the class’ job duties and pay.




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       20.    Defendant instructed Plaintiff and the class which customers to service.

       21.    Defendant assigned the work to Plaintiff and the class.

       22.    Defendant would oversee Plaintiff’s and the class’ work.

       23.    Defendant required Plaintiff and the class to abide by a schedule which

Defendant gave to them.

       24.    Defendant maintained exclusive control over the compensation received

by Plaintiff and the class.

       25.    However, Defendant did not pay Plaintiff or the class complete overtime

compensation for overtime hours worked.

       26.    Plaintiff and the class routinely worked overtime hours without

receiving complete overtime compensation.

       27.    Defendant only paid Plaintiff and the class their regular hourly pay for

all hours worked and not time and one-half of their regular rate for overtime hours

worked.

       28.    Defendant (or its customers) provided all equipment or supplies (if any)

for Plaintiff and the class to perform their work.

       29.    Plaintiff worked for Defendant for over four years and was not

temporary work with Defendant.

       30.    Plaintiff worked with other members of the class who had worked

similar lengths of employment as herself.

       31.    Plaintiff did not have a meaningful opportunity to work for any other

company in addition to her work for Defendant.




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       32.   Plaintiff and the class were an integral part of Defendant’s business

because without these workers, Defendant’s customers would not be served, and

Defendant would not generate income off of Plaintiff and the class providing these

services.

       33.   As such, Plaintiff and the class were truly the employees of Defendant

under the FLSA and are entitled to complete overtime compensation for the overtime

hours worked by them.

       34.   Upon information and belief, the records, to the extent any exist and are

accurate, concerning the hours worked and amounts paid to Plaintiff and the class are

in the possession and custody of Defendant.

             COUNT I - RECOVERY OF OVERTIME COMPENSATION

       35.   Plaintiff reincorporates and readopts all allegations contained within

Paragraphs 1-34 above.

       36.   Plaintiff and the class are/were entitled to be paid overtime

compensation for their overtime hours worked.

       37.   Plaintiff and the class routinely worked overtime hours to finish the jobs

given to them by Defendant in many workweeks.

       38.   Other putative class members, including those who are joining this case,

worked similar overtime hours.

       39.   Even though Plaintiff and the class routinely worked overtime hours,

they were not paid any complete and proper overtime compensation.

       40.   During their employment with Defendant, Plaintiff and the class were




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misclassified as independent contractors and were not paid the correct overtime

compensation for overtime hours worked by them. See supra.

      41.    Defendant did not have a good faith basis for its decision to classify

Plaintiff and the class as independent contractors.

      42.    As a result of Defendant’s intentional, willful and unlawful acts in

refusing to pay Plaintiff and the class complete overtime compensation, Plaintiff and

the class have suffered damages plus incurring reasonable attorneys’ fees and costs.

      43.    As a result of Defendant’s willful or reckless violation of the FLSA,

Plaintiff and the class are entitled to liquidated damages.

      WHEREFORE, Plaintiff, CYNDY DOMSOHN, on behalf of herself and those

similarly situated, demands judgment against Defendant for unpaid overtime

compensation, liquidated damages, prejudgment interest to the extent allowed by law,

reasonable attorneys’ fees and costs incurred in this action, declaratory relief, and any

and all further relief that this Court determines to be just and appropriate.

      Dated this 12th day of November, 2020.

                                  /s/ C. Ryan Morgan
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